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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.
            Defendants.
  ______________________________


                                     O R D E R


              THIS CAUSE is before the Court on defendant Edgar Cruz’

  Motion to Adopt (DE 564) defendant Hannibal Edwards’ Motion for

  Order Disclosing Government’s Instructions to Grand Jury (DE 552).

  Being fully advised, it is hereby

              ORDERED AND ADJUDGED that the motion is GRANTED, except

  as   to   any   matter    where   standing   is   an   essential   element   of
  participation.      Any appeal from or objection to any magistrate

  judge ruling must be taken individually, specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 29th

  day of August, 2007.




  Copies to:

  See Attached Service List
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                                 SERVICE LIST

                       USA v. FRANK HERNANDEZ, et al.

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  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)




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